              Case 22-3054, Document 165, 03/20/2024, 3616101, Page1 of 1




                             UNITED STATES COURT OF APPEALS
                                           FOR THE
                                      SECOND CIRCUIT
                         ____________________________________________

         At a Stated Term of the United States Court of Appeals for the Second Circuit, held at
the Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York, on
the 20th day of March, two thousand twenty-four,

Before:   Michael H. Park,
          Eunice C. Lee,
          Sarah A. L. Merriam,
              Circuit Judges.
____________________________________
Daniel Haller and Long Island Surgical PLLC,
                                                             ORDER
lllllllllllllllllllllPlaintiffs - Appellants,                Docket No. 22-3054

v.

U.S. Department of Health and Human Services, Xavier
Becerra, in his official capacity as Secretary of Health
and Human Services, U.S. Office of Personnel
Management, , Kiran Ahuja, in her official capacity as
Director of the U.S. Office of Personnel Management,
U.S. Department of Labor, Julie Su, in her official
capacity as Acting Secretary of Labor, U.S. Department
of the Treasury, Janet Yellen, in her official capacity as
Secretary of the Treasury,

lllllllllllllllllllllDefendants - Appellees.
_______________________________________

        Appellant Daniel Haller and Long Island Surgical PLLC having filed a petition for panel
rehearing and the panel that determined the appeal having considered the request,

          IT IS HEREBY ORDERED that the petition is DENIED.


                                                       For The Court:
                                                       Catherine O'Hagan Wolfe,
                                                       Clerk of Court
